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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 Eastern Division


SCIENTEL SOLUTIONS, LLC,
                Plaintiff,                            Civil Action No. 1:17-CV-00937

v.                                                    Judge Joan B. Gottschall

RICHARD SEIFF,
                       Defendant.


RICHARD SEIFF,
                       Counter Plaintiff,

v.

SCIENTEL SOLUTIONS, LLC and
NELSON SANTOS,
                Counter Defendants.


     COUNTER-DEFENDANTS’ FED. R. CIV. P. 12(b)(1) AND 12(b)(6) MOTION TO
       DISMISS COUNTERCLAIM OF DEFENDANT/COUNTER-PLAINTIFF

       Scientel Solutions, LLC (“Scientel”) and Nelson Santos (“Santos”) (collectively,

“Counter-Defendants”), by and through their undersigned attorneys, and pursuant to Federal

Rule of Civil Procedure 12(b)(1) and (6), respectfully request that this Court dismiss with

prejudice the counterclaims of Counter-Plaintiff, Richard Seiff (“Seiff”). In support of this

motion, Counter-Defendants state as follows:

       1.      On February 3, 2017, Scientel filed a Complaint (“Complaint”) (ECF No. 1)

against Seiff, its former employee, for misappropriation of Scientel’s trade secrets in violation of

the Defend Trade Secrets Act, 18 U.S.C. § 1836, and the Illinois Trade Secrets Act, 765 ILCS

1065, et seq.; conversion; breach of fiduciary duty; and breach of contract.

       2.      In a bald attempt to move the focus of this litigation away from his misconduct,
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Seiff asserted a counterclaim (ECF No. 22) against Scientel and its president, Nelson Santos,

claiming that Scientel and Santos failed to pay him a bonus to which he was allegedly entitled.

Seiff alleged two state-law counts, one under the Illinois Wage Payment and Collection Act, 820

ILCS 115/1, et seq. (Count I) and the other for promissory estoppel (Count II).

       3.      This Court lacks subject matter jurisdiction over both Counts I and II, because

they are not part of the same case or controversy as Scientel’s original claims, as required by 28

U.S.C. § 1367(a). Seiff’s counterclaims must therefore be dismissed for lack of subject matter

jurisdiction pursuant to Fed. R. Civ. P. 12(b)(1).

       4.      Further, each count fails as a matter of law because Seiff’s conclusory allegations

fall well short of establishing a plausible claim for relief. Accordingly, Counts I and II warrant

dismissal with prejudice under Fed. R. Civ. P. 12(b)(6).

       WHEREFORE, as more fully set out in the accompanying Memorandum of Law,

Counter-Defendants Scientel Solutions, LLC and Nelson Santos respectfully request that the

Court enter an order dismissing Counts I and II of the Defendant/Counter-Plaintiff’s

Counterclaim with prejudice.


Dated: March 20, 2017                         Respectfully submitted,

                                              SCIENTEL SOLUTIONS, LLC and
                                              NELSON SANTOS

                                              By their attorneys,

                                              /s/ Edward J. Naughton
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                                 CERTIFICATE OF SERVICE

       Pursuant to Federal Rule of Civil Procedure 5(b) and Northern District of Illinois Local

Rule 5.5, counsel for Counter-Defendants Scientel Solutions, LLC and Nelson Santos certifies

that on March 20, 2017, a true and correct copy of the foregoing Counter-Defendants’ Fed. R.

Civ. P. 12(b)(1) and 12(b)(6) Motion to Dismiss Counterclaim of Defendant/Counter-Plaintiff

was electronically filed with the Clerk of Court through the ECF system, and will be sent

electronically to all counsel of record as identified on the Notice of Electronic Filing (NEF).


Dated: March 20, 2017                         Respectfully submitted,

                                              SCIENTEL SOLUTIONS, LLC and
                                              NELSON SANTOS

                                              By their attorneys,

                                              /s/ Edward J. Naughton
                                              Edward J. Naughton
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